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CGFD75 (2/24/20)




ORDERED in the Southern District of Florida on June 6, 2022




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 22−13166−PDR
                                                                                                                 Chapter: 7


In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Generex Biotechnology Corp
10102 USA Today Way
Miramar, Fl 33025

EIN: 98−0178636


 ORDER FOR RELIEF IN INVOLUNTARY CASE AND ORDER SETTING DEADLINE
     FOR FILING SCHEDULES, STATEMENTS AND OTHER DOCUMENTS


An involuntary petition was filed on April 23, 2022 against the above−named debtor.

       The debtor has failed to file any timely pleading or defense to the petition as required by Bankruptcy
       Rule 1013(b).

       The debtor has filed a motion to convert the involuntary case from chapter 7 to chapter pursuant to
       Local Rule 1013−1(B).

       The debtor has filed a response consenting to relief under the same chapter under which the
       involuntary petition was filed.

       The debtor has filed a response contesting the involuntary petition or requesting conversion to
       chapter and a hearing was held on at which the court heard from all interested parties.


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    It is ORDERED that relief under chapter 7 of the Bankruptcy Code (Title 11 of the United States
Code) is granted.

     GENEREX BIOTECHNOLOGY CORP is directed to file with the Clerk, United States Bankruptcy
Court, the following items and comply with the following directives:

   1.    Within seven days from the date of this order, the individual named above shall file a list
         containing the name and address of each entity included or to be included on Schedules D, E/F,
         G, and H as prescribed by the Official Forms in the format required by the "Clerk's Instructions
         for Preparing, Submitting and Obtaining Service Matrices" [see Bankruptcy Rule 1007(a)(2) and
         Local Rules 1007.1 and 1007.2].

   2.    Within 14 days from the date of this order, the individual named above shall file schedules,
         statements, and, if the debtor is an individual (applicable to both joint debtors), payment advices
         (or indicate why any or all payment advices will not be filed on the Local Form "Declaration
         Regarding Payment Advices") [Bankruptcy Rules 1007(b)(1) and 1007(c) and Local Rule
         1007.1(F)].

   3.    Within 14 days from the date of this order, if the debtor is an individual, the debtor shall file

            A. the Official Bankruptcy Form "Your Statement About Your Social Security Numbers" as
               required by Bankruptcy Rule 1007(f), and Local Rule 1002−1(A)(1); and

            B. Official Bankruptcy Form 122 for the applicable chapter if required.

   4.    Within 14 days from the date of this order, if the debtor is a corporation or other entity listed in
         Local Rule 1002−1(A)(2), the debtor shall file a corporate ownership statement as required by
         Bankruptcy Rule 1007(a)(1) and Local Rule 1002−1(A)(2).

   5.    If the debtor is an individual and if relief has been entered under chapter 7, the individual named
         above shall also file within 30 days from the date of this order or the date of the creditors'
         meeting whichever is earlier, an Official Bankruptcy Form "Statement of Intention for Individuals
         Filing Under Chapter 7" (Official Form 108) as required by 11 U.S.C. §521(a)(2)(A) and
         Bankruptcy Rule 1007(b)(2).

   6.    If relief has been entered under chapter 11, the individual named above shall:

            A. File a list of equity security holders within 14 days from the date of this order as required
               by Bankruptcy Rule 1007(a)(3);

            B. File Official Bankruptcy Form 104, "The List of Creditors Who Have the 20 Largest
               Unsecured Claims Against You Who Are Not Insiders" as required by Bankruptcy Rule
               1007(d) within two days of the date of this order; and

            C. File reports as required by the U.S. Trustee and required under Local Rule 2015−1 and
               the payroll and sales tax reports and case management summary required under Local
               Rule 2081−1.

            D. If the case is a small business case and as required under 11 U.S.C. §1116(1) or if
               applicable 11 U.S.C. §1187, file within seven days the most recent balance sheet,
               statement of operations, cash flow statement and Federal income tax return or a
               statement made under penalty of perjury that no balance sheet, statement of operations,
               or cash flow statement has been prepared and no Federal tax return has been filed.
               Access to filed tax returns filed will be restricted as provided under Local Rule
               5005−1(A)(2)(c).



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               E. File within 14 days from the date of this order a statement as to whether the debtor is a
                  small business debtor and, if so, whether the debtor elects to have subchapter V of
                  chapter 11 apply as required by Bankruptcy Rule 1020(a) and, if applicable, Interim
                  SBRA Bankruptcy Rule 1020(a) as adopted by Administrative Order 2020−1.

    7.     If this case was filed under chapter 7 and the debtor requested conversion to chapter 11, debtor
           shall pay the balance of the filing fee due of $922.00.

    8.     If this case was filed under chapter 11 and the debtor had requested conversion to chapter 7,
           debtor shall immediately remit to the clerk of court the $15.00 trustee surcharge fee prescribed
           by the Judicial Conference of the United States (if not previously paid by the debtor).

    9.     If relief has been entered under chapter 13, the individual named above shall:

               A. File within 14 days from the date of this order, a chapter 13 plan conforming to the Local
                  Form Chapter 13 Plan as required by Local Rule 3015−1(B); and

               B. Commence plan payments to the chapter 13 trustee within 30 days from the date of this
                  order in the manner prescribed by that trustee pursuant to Local Rule 3070−1.

   10.     If relief has been entered under chapter 12, the debtor shall file, within 90 days from the date of
           this order, a chapter 12 plan pursuant to 11 USC §1221 and Local Rule 3015(A).




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The clerk of court shall serve copies of this order on the following parties:
           Debtor and Attorney for Debtor
           Trustee or U.S. Trustee (as applicable)
           Petitioning Creditors and Attorney for Petitioning Creditors
           All Appearances




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